                 UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                    Case No. 24-CR-8-1-JPS
 v.

 JUSTIN HANSON,
                                                                   ORDER
                     Defendant.


       On January 17, 2024, the grand jury returned a nine-count

Indictment charging Defendant with seven counts in violation of 18 U.S.C.

§§ 2(a), 371, and 1347; and 42 U.S.C. § 1320a-7b(b)(2). ECF No. 1. On August

13, 2024, the parties filed a plea agreement indicating that Defendant agreed

to plead guilty to Count Four of the Indictment. ECF No. 20.

       The parties appeared before Magistrate Judge William E. Duffin on

September 17, 2024 to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. ECF No. 24. Defendant entered a plea of guilty as

to Count Four of the Indictment. Id. After cautioning and examining

Defendant under oath concerning each of the subjects mentioned in Rule

11, Magistrate Judge Duffin determined that the guilty plea was knowing

and voluntary, and that the offenses charged were supported by an

independent factual basis containing each of the essential elements of the

offenses. Id.

       On September 17, 2024, Magistrate Judge Duffin filed a Report and

Recommendation with this Court, recommending that: (1) Defendant’s plea

of guilty be accepted; (2) a presentence investigation report be prepared;

and (3) Defendant be adjudicated guilty and have a sentence imposed

accordingly. Id. Pursuant to General Local Rule 72(c), 28 U.S.C.


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§ 636(b)(1)(B), and Federal Rule of Criminal Procedure 59(b), the parties

were advised that written objections to that recommendation, or any part

thereof, could be filed within fourteen days of the date of service of the

recommendation. Id. To date, no party has filed such an objection. The

Court has considered Magistrate Judge Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s Report

and Recommendation, ECF No. 24, be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 11th day of October, 2024.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




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